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     MICHAEL B. BIGELOW
1    Attorney at Law
     State Bar No. 65211
2    428 J Street, Suite 350
     Sacramento, CA 95814
3    Telephone: (916) 443-0217
4    Attorney for Defendant
     Son Nguyen
5

6                    IN THE UNITED STATES DISTRICT COURT

7               IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

8
                                       )   Case No. Cr.S-08-390 GEB
9    UNITED STATES OF AMERICA,         )
                                       )   STIPULATION AND ORDER
10              Plaintiff,             )   CONTINUING STATUS
                                       )
11        vs.                          )   Date: December 18, 2009
                                       )   Time: 9:00 AM
12                                     )   Court: GEB
     K. N. Phaouthoum, et. al.,        )
13                                     )
                                       )
14                                     )
                Defendant
15

16                     STIPULATION TO CONTINUE HEARING
17
          Pursuant to agreement between the parties it is hereby
18
     stipulated that hearing in the above referenced matter be
19
     continued to December 18, 2009 at 9:00 AM.
20
          The basis for this request is that defense counsel are
21
     continuing to review discovery with their clients and are in
22
     plea negotiations with the government.
23
          IT IS FURTHER STIPULATED that the period from October 9,
24
     2009, (the date set for the status conference) through and
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     including December 18, 2009, be excluded in computing the time
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     within which trial must commence under the Speedy Trial Act,
2
     pursuant to 18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4 for
3

4    continuity and preparation of counsel.

5

6         DATED: October 9, 2009              Respectfully submitted

7

8                                             /S/MICHAEL B. BIGELOW
                                              Michael B. Bigelow
9                                             Attorney for Son Nguyen
10
     IT IS SO STIPULATED
11

12

13   /S/MICHAEL BECKWITH, Esq.,
     Michael Beckwith, Esq.,                       Dated: October 9, 2009
14   Assistant United States Attorney
     Attorney for Plaintiff
15

16   /S/MICHAEL B. BIGELOW, Esq.,                  Dated: October 9, 2009
     Michael B. Bigelow
17   Attorney for Defendant
     Son Nguyen
18

19
     /S/Joseph Wiseman, Esq.,                      Dated: October 9, 2009
20
     Steven Bauer, Esq.,
     Attorney for Defendant
21   Keoudone Noy Phaouthoum

22

23

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           Case 2:08-cr-00390-GEB Document 106 Filed 10/16/09 Page 3 of 3


     /S/MARK J. RECHEL, Esq.,                     Dated: October 9, 2009
1    Mark J. Reichel, Esq.,
     Attorney for Defendant
2
     Kommala Xayadeth
3

4    /S/JOHNNY L. GRIFFITH III, Esq.,             Dated: October 9, 2009
     Johnny L. Griffith III, Esq.,
5    Attorney for Defendant
     John Li
6

7    /S/DAVID W. DRATMAN, Esq.,                   Dated: October 9, 2009
     David W. Dratman, Esq.,
8    Attorney for Defendant
     Tuy Nguyen
9

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11

12                                     ORDER

13              IT IS ORDERED: that pursuant to stipulation the above

14   referenced matter shall be continued until December 18, 2009 at

15   9:00 PM, and time excluded for the reasons set forth above.

16   10/16/09
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                                      GARLAND E. BURRELL, JR.
18                                    United States District Judge
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